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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )          CRIM. NO. 13-01036 (01)
                               )
           Plaintiff,          )          ORDER DENYING DEFENDANT MALIA
                               )          ARCIERO’S MOTION SEEKING TO
      vs.                      )          ORDER THE GOVERNMENT TO
                               )          PRODUCE BRADY MATERIAL
 MALIA ARCIERO (01),           )
                               )
           Defendant.          )
 _____________________________ )

       ORDER DENYING DEFENDANT MALIA ARCIERO’S MOTION SEEKING
          TO ORDER THE GOVERNMENT TO PRODUCE BRADY MATERIAL

 I.         INTRODUCTION.

            Before trial, Defendant Malia Arciero manufactured

 allegations that the federal agent responsible for investigating

 her drug crimes had sexually assaulted her.         After being

 convicted by a jury of four drug crimes, but before her

 sentencing, she recanted the sexual assault claims.             Her

 conviction and sentence were affirmed on appeal.          Arciero then

 sought relief under 28 U.S.C. § 2555.        The court held an

 evidentiary hearing and denied that motion.         That denial was also

 affirmed on appeal.     Now that her criminal proceedings have

 concluded, Arciero says she believes that the Government may have

 failed to turn over all Brady material.         Arciero therefore seeks

 an order compelling the Government to turn over that material.

 That request is denied.
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 II.        BACKGROUND.

            Arciero was arrested for methamphetamine-related crimes

 and initially cooperated with law enforcement.

            On March 31, 2014, in a pretrial release revocation

 hearing based on a urine specimen that had tested positive for

 methamphetamine, see ECF No. 49, Arciero testified that she had

 drugs in her system only because, in cleaning a house, she must

 have come into contact with drugs.        See Partial Transcript of

 Further Order to Show Cause Why Pretrial Release Should Not Be

 Revoked - Testimony of Malia Arciero, ECF No. 83, PageID # 151-

 52.   She denied having used methamphetamine in connection with

 the positive drug test.      See id., PageID # 132.      During the

 course of her testimony, Arciero also said that a Government

 agent had forced her to perform oral sex on him.          See id., PageID

 # 141.   The Magistrate Judge did not find Arciero’s explanation

 as to why she had tested positive for methamphetamine to be

 credible and revoked her pretrial release.         See ECF No. 87.

            On August 18, 2014, in connection with three motions

 she had filed, Arciero submitted a declaration repeating the

 allegations of sexual misconduct in vivid detail.          Arciero said

 that, as soon as she became the agent’s informant, he began

 sexual advances towards her.       See ECF No. 105-1, PageID # 282.

 He allegedly began “petting” her while she was a passenger in his

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 car.   Id.    She also reiterated that, in late August 2013, she met

 the agent at ICE headquarters, where the agent forced her to

 perform oral sex.     Id., PageID #s 286-87.      She said that the

 agent told her that he would kill her if she told anyone about

 what had happened and that he would rape her in the future.            Id.

              On November 24, 2014, the Government offered Arciero a

 plea deal if she entered a guilty plea to Count 1, which alleged

 that she had conspired to distribute and to possess with intent

 to distribute fifty grams or more of methamphetamine, its salts,

 isomers, and salts of its isomers.        The Government offered to

 move to dismiss the remaining counts.        As part of the deal,

 Arciero would be required to sign a declaration recanting all her

 allegations of misconduct by the case agent.         See ECF No. 319-4,

 PageID #s 4136-59.     Arciero rejected the plea deal several days

 later.   See ECF No. 319-4, PageID # 4161; see also Testimony of

 Gary V. Dubin-Day 1, ECF No. 338, PageID #s 4426-27, 4430.

              The matter proceeded to trial and, on January 8, 2015,

 after a six-day jury trial and two days of deliberations, Arciero

 was convicted of four drug-related crimes.         See ECF Nos. 219,

 220, 226, 227, 243, 245, 249.

              On September 18, 2015, before she was sentenced,

 Arciero retracted her accusations against the case agent under

 oath, stating that her accusations against him were false.            See

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 Declaration of Malia Arciero, ECF No. 279-2, PageID # 1865.            She

 explained that her previous accusations that the case agent

 “raped [her] and forced [her] to give him oral sex” were “not

 correct and I therefore withdraw them.”          Id., PageID # 1868.

             At Arciero’s sentencing hearing on September 21, 2015,

 this judge imposed a two-level obstruction of justice enhancement

 based on (1) the Magistrate Judge’s determination that Arciero

 was not credible in her explanation with respect to the 2014 drug

 test; (2) this judge’s own finding that Arciero had lied to the

 court in saying she had had no involvement with drug dealing; and

 (3) Arciero’s false accusations concerning the case agent’s

 conduct.    See ECF No. 289, PageID #s 2073, 2075.        The court

 sentenced Arciero to 172 months of imprisonment and 5 years of

 supervised release for each crime, with the terms running

 concurrently, and a $400 special assessment.          See Judgment, ECF

 No. 281.

             Arciero appealed.     See Notice of Appeal, ECF No. 284.

 On March 3, 2017, the Ninth Circuit affirmed in a memorandum

 decision.    See ECF No. 307.

             On March 12, 2018, Arciero filed a motion under 28

 U.S.C. § 2255.     See ECF No. 309.       In a hearing on that motion,

 Arciero reaffirmed her recantation of the sexual assault

 allegations.     See ECF No. 355, PageID #s 4550-51.       On January 28,

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 2019, after an evidentiary hearing, this court denied Arciero’s

 § 2255 motion.    Arciero appealed, and the Ninth Circuit affirmed.

 See ECF Nos. 352, 380, 382.

            On March 12, 2021, Arciero filed the present request to

 order the Government to produce Brady material.          See ECF No. 397.

 III.       ANALYSIS.

            “The government has an obligation under Brady v.

 Maryland to provide exculpatory evidence to a criminal

 defendant.”    United States v. Blanco, 392 F.3d 382, 387 (9th Cir.

 2004).   The Government must disclose such Brady material even

 without a request by the defendant.        See Strickler v. Greene, 527

 U.S. 263, 280.    When a defendant seeks to demonstrate that the

 Government violated its Brady obligations, the defendant must

 show that “[t]he evidence at issue must be favorable to the

 [defendant], either because it is exculpatory, or because it is

 impeaching; that evidence must have been suppressed by the

 [Government], either willfully or inadvertently; and prejudice

 must have ensued.”     Id. at 281-82.     In the post-trial context,

 the Ninth Circuit has adjusted this standard, stating that “a

 Brady violation has three components: (1) the information must be

 favorable to the defense; (2) it must not have been disclosed by

 the government before or at trial; and (3) there must have been



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 resulting prejudice.”      United States v. Mazzarella, 784 F.3d 532,

 538 (9th Cir. 2015).

            Arciero asks this court to order the Government to turn

 over Brady material even though her criminal proceedings have

 concluded.    Arciero is not making the request in connection with

 any pending motion.     Instead, she argues:

            Upon information and belief, Arciero believes
            there are documents reflecting exculpatory
            statements and evidence made by Department of
            Homeland security, U.S. Department of Justice
            and the US Attorney’s Office in Hawaii
            concerning her case and Arciero’s 2014
            allegations of misconduct by [the case agent]
            and other agents working with him. Arciero
            also believes that there are other victim[s]
            of [the case agent] and other agents of that
            task force being suppress[ed] by the Hawaii
            U.S. Attorney’s office.

 ECF No. 397, PageID # 4943.       Arciero does not explain the basis

 for her belief that the Government has Brady material that it

 failed to produce.     Nor does she explain why she failed to make

 this argument before her conviction, sentence, or § 2255 motion,

 or on any appeal.     Her request therefore appears to be nothing

 more than a belated fishing expedition.         She seeks more than is

 allowed in the form of discovery in criminal cases under Rule 16

 of the Federal Rules of Criminal Procedure.         See, e.g.,

 Monserrate v. United States, 2014 WL 7179628, at *7 (S.D.N.Y.

 Dec. 10, 2014) (“Since there is absolutely no evidence to support


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 petitioner’s Brady claim, discovery would be nothing more than a

 fishing expedition.”).

            Arciero fails to cite any authority supporting the

 proposition that the Government has a continuing duty to provide

 Brady material after her criminal proceedings have concluded.             At

 least one circuit has ruled otherwise.        See Gibson v.

 Superintendent of NJ Dep't of L. & Pub. Safety-Div. of State

 Police, 411 F.3d 427, 444 (3d Cir. 2005) (“Gibson has pointed to

 no constitutional duty to disclose potentially exculpatory

 evidence to a convicted criminal after the criminal proceedings

 have concluded and we decline to conclude that such a duty

 exists.”); cf. Cruz v. Cty. of Santa Barbara, 228 F. App'x 750,

 751 (9th Cir. 2007) (“Because Cruz has not established prejudice,

 we need not determine whether the prosecution has a continuing

 duty to disclose exculpatory evidence after criminal proceedings

 have concluded.”) (unpublished disposition).         Even if this court

 were to assume that such a continuing duty exists, Arciero fails

 to explain why the Government should be ordered to comb its

 records looking for exculpatory evidence that was not previously

 turned over.

            In the first place, Arciero provides no reason at all

 to think that undisclosed Brady material exists.          In the second

 place, to the extent Arciero seeks Brady material arising out of

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 the sexual assault that she recanted under oath, any argument

 that exculpatory evidence exists makes little sense.            Arciero has

 admitted that she made up the sexual assault.          It cannot be that

 any investigation into that fictitious sexual assault could yield

 evidence that would exculpate Arciero.

            To the extent Arciero seeks Brady material based on

 what she calls the “bizarre plea offer” discussed at oral

 argument on appeal, she again fails to establish the possible

 existence of any Brady material.         During the Ninth Circuit’s

 hearing on Arciero’s § 2255 appeal, one of the judges remarked on

 how unusual it was to condition a plea agreement on the

 defendant’s withdrawal of an allegation such as Arciero’s

 allegation that a federal agent had sexually assaulted her.

 Arciero appears to think that the unusualness of the condition

 gives rise to a right to demand Brady material.          But the Brady

 material Arciero now says she believes exists concerns a matter

 that Arciero invented, not something that actually happened!             How

 Arciero can claim that Brady material even exists in this regard

 is unclear.    Moreover, in conditioning the plea deal on a

 recantation by Arciero, the Government was understandably trying

 to clear the name of an agent who had been falsely accused and

 had few avenues available to it.



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              Finally, to the extent Arciero seeks Brady material

 concerning the Government’s use of informants, Arciero fails to

 identify why she believes such material exists, or to what she

 thinks that material might be relevant.

 IV.          CONCLUSION.

              For the foregoing reasons, the court denies Arciero’s

 motion to order the Government to disclose Brady material.

                     IT IS SO ORDERED.

                     DATED: Honolulu, Hawaii, March 17, 2021.




                                   /s/ Susan Oki Mollway
                                   Susan Oki Mollway
                                   United States District Judge



 United States of America v. Arciero, Crim. No. 13-01036 SOM (01); Civ. No. 18-00090
 SOM; ORDER DENYING DEFENDANT MALIA ARCIERO’S MOTION SEEKING TO ORDER THE GOVERNMENT
 TO PRODUCE BRADY MATERIAL




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